                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

 In re: RUNNIN L FARMS, LLC          )
                                     )                          Case No.: 19-82716-CRJ-11
       EIN: xx-xxx0864               )
                                     )
       Debtor.                       )                          CHAPTER 11
 ____________________________________)

                        DEBTOR’S MOTION FOR INTERIM AND FINAL
                          AUTHORITY TO USE CASH COLLATERAL


         COMES NOW Runnin L Farms, LLC (the “Debtor”), and shows unto this Honorable Court
 the following:
                                                Background

         1.       On September 9, 2019, the Debtor commenced with this Court a voluntary case under
 Chapter 11 of Title 11, United States Code.

         2.       This Court has subject matter jurisdiction to consider and determine this motion
 pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper
 before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.       The Debtor is currently unaware of whether any creditors possess valid, perfected
 security interests in its account receivable; however, the Debtor’s experience is in logistics and
 transportation, not secured transactions and finance. Thus, some of the Debtor’s creditors may possess
 valid security interests in its account receivable.

         4.       According to the Alabama Secretary of State’s Uniform Commercial Code filing system
 (the “UCC Registry”), the parties listed on the attached claim some type of security interests in the
 Debtor’s personal property. A true and correct list of the parties listed with the UCC Registry for
 “Runnin L Farms, LLC” is attached hereto as Exhibit “A.”

         5.       Because some of the creditors on Ex. A may have lent money to the Debtor on credit,
 the Debtor suspects that at least one of these parties may claim a lien against the Debtor’s accounts
 receivable.




Case 19-82716-CRJ11           Doc 11    Filed 09/11/19 Entered 09/11/19 10:07:07             Desc Main
                                       Document     Page 1 of 5
         6.          As of the bankruptcy petition date, the Debtor had accounts receivable totaling
 $56,000.

         7.          As of the filing of this motion, the Debtor has not yet filed its bankruptcy schedules and
 is currently determining its creditors’ various claims and interests, including reviewing the validity of
 any security interests attached to the Debtor’s accounts receivable.

         8.          The Debtor brings this motion in an abundance of caution to protect the security
 interests any creditors possess in the Debtor’s accounts receivable and other accounts.

                                                    Relief Requested

         9.          Assuming one or more creditors may possess a valid, perfected security interest in the
 Debtor’s accounts receivable, those interests constitute “cash collateral” within the meaning of §
 363(a) of the Bankruptcy Code (the “Cash Collateral”).

         10.         11 U.S.C. § 363(c)(2) prohibits a debtor from using Cash Collateral without the consent
 of such parties or absent Court approval.

         11.         Pursuant to 11 U.S.C. § 363(c)(2)(B), the Debtor seeks authorization from this Court to
 use the Cash Collateral in its ongoing business operations.

         12.         The Cash Collateral constitutes the primary source of funding for the continued
 operations for the Debtor in this case. If Debtor is not permitted to use the Cash Collateral, it will have
 to shut down its business, hindering any prospects of future reorganization.

         13.         The Debtor presently has 11 employees and also utilizes 11 owner-operator tractor-
 trailer contractors. Historically, the Debtor paid its principal owner/manager a salary of $2,500.00 a
 week. However, to preserve resources, the Debtor has suspended its owner/manager’s salary since
 filing this case.

         14.         The Debtor has not paid any pre-prepetition debts and will not do so without separate
 Court authorization.

         15.         The Debtor believes that its creditors’ interests in the Cash Collateral are adequately
 protected; the Debtor has prepared a ninety-day budget showing that it expects profitable operations
 during the next three months. A true and correct copy of the Debtor’ ninety-day budget is attached
 hereto as Exhibit “B.”




Case 19-82716-CRJ11             Doc 11     Filed 09/11/19 Entered 09/11/19 10:07:07                 Desc Main
                                          Document     Page 2 of 5
         16.     As additional adequate protection, to the extent that the Debtor’s use of Cash Collateral
 results in a decrease in the value of these creditors’ interests in the Cash Collateral, the Debtor proposes
 to grant all creditors with valid perfected interests in its Cash Collateral replacement liens in the
 Debtor’s post-petition assets, and proceeds of same, to the same extent, priority and validity as those
 creditors pre-petition liens.

         WHEREFORE, the Debtor respectfully requests that this Court enter an Order: permitting the
 use of cash collateral upon the terms and conditions stated herein; and granting such other and further
 relief as this Court deems just and proper.

         Respectfully submitted this the 11th day of September, 2019.


                                                 /s/ Tazewell T. Shepard IV
                                                 Tazewell T. Shepard III
                                                 Tazewell T. Shepard IV
                                                 Attorneys for the Debtor

                                                 SPARKMAN, SHEPARD & MORRIS, P.C.
                                                 P. O. Box 19045
                                                 Huntsville, AL 35804
                                                 Tel: 256/512-9924
                                                 Fax: 256/512-9837
                                                 ty@ssmattorneys.com




                                     CERTIFICATE OF SERVICE

         This is to certify that this the 11th day of September, 2019, I have this day served the foregoing
 motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and Richard
 Blythe, Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF
 system and/or by placing a copy of same in the United States Mail, postage pre-paid.


                                                 /s/ Tazewell T. Shepard IV
                                                 Tazewell T. Shepard IV




Case 19-82716-CRJ11          Doc 11     Filed 09/11/19 Entered 09/11/19 10:07:07                  Desc Main
                                       Document     Page 3 of 5
9/10/2019                                                                                                 SOS - UCC Filing System




            UCC - Uniform Commercial Code Online System

                                                                                                        NEW SEARCH
                                                                                            Filings completed through

                                                                                                                                                                View Items in Cart



                 RUNNIN L FARMS, L.L.C.                                                                                                                                        Add to Cart
                 235 MARDIS POINT RD                                                                            COMPLETE BUSINESS SOLUTIONS GROUP, INC.
                 JOPPA , AL 35087-0000                                                                          BUS XX-XXXXXXX    ACT 04/04/2019-04/04/2024



                 RUNNIN L FARMS, LLC                                                                                                                                           Add to Cart
                 231 MARDISS POINT ROAD                                                                         FUNDING METRICS, LLC
                 JOPPA , AL 35087-0000                                                                          BUS XX-XXXXXXX    ACT 04/04/2019-04/04/2024



                 RUNNIN L FARMS                                                                                                                                                Add to Cart
                 27 NUNNELLEY RD                                                                                CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
                 JOPPA , AL 35087-0000                                                                          BUS XX-XXXXXXX    ACT 12/16/2014-12/16/2019



                 RUNNIN L FARMS, L.L.C.                                                                                                                                        Add to Cart
                 27 NUNNELLEY RD                                                                                SUSQUEHANNA SALT LAKE, LLC
                 JOPPA , AL 35087-0000                                                                          BUS XX-XXXXXXX    ACT 10/12/2018-10/12/2023



                 RUNNIN L FARMS, LLC                                                                                                                                           Add to Cart
                 231 MARDIS PT ROAD                                                                             PEOPLESTRUST BANK
                 JOPPA , AL 35087-0000                                                                          BUS XX-XXXXXXX    ACT 06/26/2018-06/26/2023



                 RUNNIN L FARMS, L.L.C.                                                                                                                                        Add to Cart
                 231 MARDIS POINT ROAD                                                                          EAGLE CAPITAL CORPORATION
                 JOPPA , AL 35087-0000                                                                          BUS XX-XXXXXXX    ACT 12/14/2016-12/14/2021



                 RUNNIN L FARMS, L.L.C.                                                                                                                                        Add to Cart
                 231 MARDIS POINT RD                                                                            CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
                 JOPPA , AL 35087-0000                                                                          BUS XX-XXXXXXX    ACT 12/16/2014-12/16/2019



                 RUNNIN L FARMS, LLC                                                                                                                                           Add to Cart
                 231 MARDIS POINT ROAD                                                                          WALLACE FACTORING, LLC
                 JOPPA , AL 35087-0000                                                                          BUS XX-XXXXXXX    ACT 04/20/2017-04/20/2022


                                                                                                                                                                View Items in Cart

                                                                                                        NEW SEARCH


                                                            For more information about UCC Filings please visit the Secretary of State's website.
                                                     For policy-related questions please contact: (334)242-5324 or business.services@sos.alabama.gov
                                                        For technical assistance please contact: 866-353-3468 or support@alabamainteractive.org
                                                                    For login assistance please email subscriptions@alabamainteractive.org
    This online service is provided by Alabama Interactive, LLC, a third party, working under a contract awarded and administered by Alabama's Department of Finance as authorized under contract number MA 999 17000000171.
                      The online price of items or services purchased through Alabama.gov, the state's of cial web portal, includes funds to develop, maintain, enhance and expand offerings of the state's portal.




          Case 19-82716-CRJ11 Doc 11
https://www.alabamainteractive.org/ucc_ﬁling/NewSearch.do                           Filed 09/11/19 Entered 09/11/19 10:07:07                                                               Desc Main                           1/1
                                                                                   Document     Page 4 of 5
Runnin L Farms,LLC Budget                                             September-19          October-19       November-19
   Ordinary Income/Expense
          Income

           Total Income                                                       302,000.00       302,000.00         302,000.00
        Gross Profit                                                          302,000.00          302,000            302,000
           Expense
               7000 · Advertising and Promotion                                       265              265               265
               7010 · Bank Service Charges                                            750              125               125
               7020 · Billing Service Fees Paid                                     2780              2780              2780
               7050 · Computer and Internet Expenses                                  250              250               250
               7070 · Dues and Subscriptions                                           75               75                75
               7090 - Employee Health Insurance                                     3000              3000              3000
               7110 · Malpractice
                       Commercial  Insurance
                                     Insurance                                     22500            22500              22500
               7140 · Janitorial Expense                                               25               25                25
               7182 · Medical
                       Fuel Taxes
                                Supplies                                              475              475               475
               7183 · Vaccines
                       Fuel      and Medicines                                     84000            84000              84000
               7190 · Office Supplies                                                 589              589               589
               7200 · Payroll Expenses                                           150,800          150,800            150,800
               7205 · Postage and Delivery                                            100              100               100
               7220 · Ultrasound
                       Payroll Taxes
                                   Service                                          3600              3600              3600
               7245 · Repairs and Maintenance                                       7500              7500              7500
               Adequate Protection Payments to Secured Creditors                        0          15,000             15,000
               7260 · Telephone Expense                                               460              460               460
               7300 · Utilities                                                       295              295               295
               BA Quarterly Fees                                                     0.00            1,650                 0
               Estate-employed Professional Fees                                5,000.00         5,000.00           5,000.00
           Total Expense                                                      282,464.00       298,489.00         296,839.00
    Net Ordinary Income                                                        19,536.00         3,511.00           5,161.00
Net Income                                                                     19,536.00         3,511.00           5,161.00




                                 Case 19-82716-CRJ11               Doc 11    Filed 09/11/19 Entered 09/11/19 10:07:07          Desc Main
                                                                            Document     Page 5 of 5
